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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              BID PROTEST



AMAZON WEB SERVICES, INC.


              Plaintiff,
                                               Case No. 19-1796
       V.
                                               Judge Pati·icia E. Campbell-Smith

THE UNITED STATES,

              Defendant,

and                                            FINAL REDACTED VERSION

MICROSOFT CORPORATION,

              Intervenor-Defendant.


            INTERVENOR-DEFENDANT MICROSOFT CORPORATION'S
                PARTIAL MOTION TO DISMISS THE COMPLAINT
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